    Case 6:22-cv-06452-FPG-MWP Document 19 Filed 06/18/24 Page 1 of 1




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

ANTHONY HALL,
                                    Plaintiff,                     STIPULATION OF
            v.                                                     DISCONTINUANCE

THE CITY OF ROCHESTER, a municipal entity, ADAM
GORMAN, NICHOLAS ADAMS, JOHN DOES NOS. 1-10,                           Case No. 22-CV-6452

                                    Defendants.



                 IT IS HEREBY STIPULATED AND AGREED, by and between the
       undersigned attorneys of record on behalf of all the parties to the above entitled action,
       pursuant to the Federal Rules of Civil Procedure Rule §41(a)(ii) that the above entitled
       action be and the same hereby is dismissed, with prejudice and on the merits without
       costs to either party as against the other. This stipulation may be filed with the Court
       by the City of Rochester without further notice.

              June 18
       Dated: _______________, 2024




                                                 s/PN
       ROTH & ROTH, LLP                          Patrick Beath, Corporation Counsel
       Elliot Shields, Esq.                      by: Patrick B. Naylon, Esq., Of Counsel
       Attorneys for Plaintiff                   Attorneys for City Defendants
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